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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 In re:                                          §
                                                 §
 Koontz-Wagner Custom Control                    §                Case No. 18-33815
 Holdings LLC,                                   §
                                                 §
                  Debtor.                        §                (Chapter 7)

                 NOTICE OF SECOND REVISED LIMITED MAILING LIST

        The below parties must be noticed by U.S.P.S. mail in addition to (i) the party against
whom relief is sought and its counsel, (ii) any parties claiming an interest in property that is
affected by a motion, and (iii) an parties claiming a lien on any property that is affected by the
requested relief.


Williams Industrial                 O'Neal Industries                     Advantage Interests, Inc.
Services Group Inc                  P.O. Box 934243                       7840 W. Little York
400 E. Las Colinas, #400            Atlanta, GA 31193-4243                Houston, TX 77040
Irving, TX 75039
                                    O'Neal Flat Rolled Metals             RMS Energy Co., LLC
Meitec, Inc.                        P.O. Box 951858                       1900 E. 66th Ave.
2800 Veterns Blvd.,#260             Dallas, TX 75395                      Denver, CO 80229
Metairie, LA 70002
                                    Allegiance Crane &                    Express Personnel Services
Williams Industrial                 Equipment, LLC                        5616 NW 135th,Suite A
Services Group LLC                  777 South Andrews Avenue              Oklahoma City, OK 73142
100 Crescent Centre Pkwy.,          Pompano Beach, FL 33069
#1240                                                                     Allegheny Steel Distributors,
Tucker, GA 30084                    United Coatings Technologies          Inc.
                                    1011 S. Main St.                      P.O. Box 645363
Crawford Electric                   South Bend, IN 46601                  Pittsburgh, PA 15264-5363
Supply Co., Inc.
P.O. Box 847160                     Marvair, A Division                   Martell Electric, LLC
Dallas, TX 75284-7160               of Airxcel, Inc.                      P.O. Box 3965
                                    P.O. Box 6407                         South Bend, IN 46619
Engineered Air C/O                  Carol Stream, IL 60197-6407
Commerce Bank                                                             O’Neal Steel
P.O. Box 801618                     G&H Diversified Mfg, LP               C/O Mary Fitzgerald
Kansas City, MO 64108-1618          11660 Briitmoore Park Dr.             841 N Michigan Rd.
                                    Houston, TX 77041                     Shelbyville, IN 46176
Tri-State Electrical
Contractors, LLC                    MTI                                   TN Dept of Labor – Bureau of
2101 Fort St.                       30836 CR 8                            Unemployment Insurance
Chattanooga, TN 37408               Elkhart, IN 46514                     c/o TN Atty. Gen. Office
                                                                          Bankruptcy Division
All Phase Electric Supply Co.       Fastenal Company                      PO Box 20207
1385 Bendix Dr.                     P.O. Box 1286                         Nashville, TN 37202-0207
South Bend, IN 46628                Winona, MN 55987-1286


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Bankruptcy Administration
Wells Fargo Vendor Fin. Serv.
LLC
c/o A Ricoh USA Program
P.O. Box 13708
Macon, GA 31208-3708




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